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Debter 1 Emilie Villa-lqnacio Padiernos

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court for the: Western District of Washington
Case number 20-1 1939-TWD

 

 

Official Form 41081
Notice of Mortgage Payment Change 12/15

 

 

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

 

Name of creditor: Northgate West Condominium Association Court claim no. (if known): 114
Last 4 digits of any number you use to Date of payment change:
identify the debtor's account: 8 4 O 3 Must be at least 21 days after date 04/01/2021
of this notice
New total payment: $ 960.24

Principal, interest, and escrow, if any

Ea Escrow Account Payment Adjustment

1. Will there be a change in the debtor’s escrow account payment?

WW No

Q) Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
the basis for the change. If a statement is not attached, explain why:

 

 

Current escrow payment: § New escrow payment: §

ae Mortgage Payment Adjustment

2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
variable-rate account?

Wf No

QI Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
attached, explain why:

 

 

Current interest rate: % New interest rate: %

Current principal and interest payment: $ New principal and interest payment: $

ra Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?

CL) No

od Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
(Court approval may be required before the payment change can take effect.)

Reason for change: Monthly Special Assessment

Current mortgage payment: $ 516.56 New mortgage payment: $ 960.24

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First Name Middle Name Last Name

' The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.

Check the appropriate box.
C) | am the creditor.

wi | am the creditor's authorized agent.

| declare under penalty-of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasorable belief.

nin x EF he. yy pista Date /, UL. 2

Signature

eo

 

Print: Michael Av Padilla Tite Attorney

First Name” Middle Name Last Name

 

 

Company [sox Aspaas PLLC

Address 2101 Fourth Avenue, Ste. 860

 

 

Number Street
Seattle WA 98121
City State ZIP Code
Contact phone 206-388-0600 Emai! Mike@condo-lawyers.com
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